Case 2:23-cv-01043-JWH-KES   Document 45       Filed 04/17/23   Page 1 of 3 Page ID
                                  #:801


 1 Christina Goodrich (SBN 261722)
 2 christina.goodrich@klgates.com
   Connor J. Meggs (SBN 336159)
 3 connor.meggs@klgates.com
 4 K&L GATES LLP
   10100 Santa Monica Boulevard
 5 Eighth Floor
 6 Los Angeles, CA 90067
   Telephone: +1 310 552 5000
 7 Facsimile: +1 310 552 5001
 8 Attorneys for Plaintiff
   Entropic Communications, LLC
 9
10                     UNITED STATES DISTRICT COURT
11                   CENTRAL DISTRICT OF CALIFORNIA
12
13 ENTROPIC COMMUNICATIONS,
   LLC,
14                                              Case No.: 2:23-cv-01043-JWH-KES
        Plaintiff,
15
                                                PLAINTIFF’S AMENDED NOTICE
16      v.                                      OF INTERESTED PARTIES
                                                (LOCAL RULE 7.1-1)
17 DISH NETWORK CORPORATION;
   DISH NETWORK LLC; DISH                        [Judge John W. Holcomb; Magistrate
18                                              Judge Karen E. Scott]
   NETWORK SERVICE, LLC; and
19 DISH NETWORK CALIFORNIA
   SERVICE CORPORATION,
20
        Defendants.
21
22
23
24
25
26
27
28

                                           1
     PLAINTIFF’S AMENDED NOTICE OF INTERESTED PARTIES (LOCAL RULE 7.1-1)
Case 2:23-cv-01043-JWH-KES          Document 45     Filed 04/17/23   Page 2 of 3 Page ID
                                         #:802


 1            TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2 RECORD:
 3            Pursuant to Local Rule 7.1-1, the undersigned, counsel of record for Plaintiff
 4 Entropic Communications LLC (“Plaintiff”), certifies that the following listed party
 5 (or parties) may have a pecuniary interest in the outcome of this case. These
 6 representations are made to enable the Court to evaluate possible disqualification or
 7 recusal. 1
 8       Entropic Communications LLC              Plaintiff; wholly owned subsidiary of
 9                                                Entropic Holdings LLC.
10       Entropic Holdings LLC                    Entropic Holdings LLC is a privately
11                                                held limited liability company with an
12                                                interest in the outcome of the action.
13       FIG LLC (d/b/a Fortress Investment       FIG LLC (d/b/a Fortress Investment
14       Group)                                   Group) and/or its wholly-owned
15                                                subsidiaries are investment advisors to
16                                                private investment funds that own
17                                                Entropic Holdings LLC, and may have
18                                                an interest in the outcome of the action.
19       MaxLinear, Inc.                          MaxLinear, Inc. is the prior assignee of
20                                                one or more of the patents in suit, and
21                                                has an interest in the outcome of the
22                                                action.
23       MaxLinear Communications LLC             MaxLinear Communications LLC is
24                                                the prior assignee of one or more of the
25                                                patents in suit, and has an interest in
26                                                the outcome of the action.
27
28   1
      These representations are being made solely for purposes of recusal or
     disqualification and are not a waiver of any applicable privilege or protection.
                                                 2
         PLAINTIFF’S AMENDED NOTICE OF INTERESTED PARTIES (LOCAL RULE 7.1-1)
Case 2:23-cv-01043-JWH-KES   Document 45       Filed 04/17/23   Page 3 of 3 Page ID
                                  #:803


 1
 2
 3 Dated: April 17, 2023                   By:         /s/ Christina N. Goodrich
 4                                                    Christina Goodrich (SBN 261722)
 5                                                    Connor J. Meggs (SBN 336159)
                                                      K&L GATES LLP
 6                                                    10100 Santa Monica Boulevard,
 7                                                    8th Floor
                                                      Los Angeles, CA 90067
 8                                                    Telephone: (310) 552-5000
                                                      Facsimile: (310) 552-5001
 9
                                                      Attorneys for Plaintiff Entropic
10                                                    Communications, LLC
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           3
      PLAINTIFF’S AMENDED NOTICE OF INTERESTED PARTIES (LOCAL RULE 7.1-1)
